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               EXHIBIT A
                  Case 1:17-cv-00883-CKK Document 58-1 Filed 04/05/19 Page 2 of 4


Schifrin, David (OAG)

From:                                Bryant, Benjamin (OAG)
Sent:                                Friday, March 22, 2019 5:56 PM
To:                                  William Claiborne
Cc:                                  Addo, Michael (OAG); Deberardinis, Robert (OAG); Joe Joseph A. Scrofano, Esq.
Subject:                             RE: LCvR 7(m) Request - JOHNSON v. DISTRICT OF COLUMBIA (1:17-cv-00883-CKK)


Mr. Claiborne,

There are many paragraphs that we believe are non‐conforming. Plaintiff’s Statement of Undisputed Material Fact ¶ 6
contains eleven bullet points, while ¶ 76 is a narrative that is a full five paragraphs long. (ECF DKT # 48‐2 at pages 1‐2;
16‐17). Others contain only argument.

Are you considering withdrawing the Statement? If so, the Motion to Strike would be unnecessary. Please advise.

Thank you.

Sincerely,

Benjamin E. Bryant [1047632]
Assistant Attorney General
Civil Litigation Division, Section IV
Office of the Attorney General for the District of Columbia
441 4th Street, NW, Suite 630 South
Washington, D.C. 20001
202‐724‐6652 (phone)
202‐730‐0624 (fax)
benjamin.bryant@dc.gov

From: William Claiborne <claibornelaw@gmail.com>
Sent: Friday, March 22, 2019 5:47 PM
To: Bryant, Benjamin (OAG) <Benjamin.Bryant@dc.gov>
Cc: Addo, Michael (OAG) <michael.addo@dc.gov>; Deberardinis, Robert (OAG) <robert.deberardinis@dc.gov>; Joe
Joseph A. Scrofano, Esq. <jas@scrofanolaw.com>
Subject: Re: LCvR 7(m) Request ‐ JOHNSON v. DISTRICT OF COLUMBIA (1:17‐cv‐00883‐CKK)

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the sender and know that the content is safe. If you believe that this email is suspicious, please forward to phishing@dc.gov for
additional analysis by OCTO Security Operations Center (SOC).

Kind of abstract. Can u give me an example ? And do you mean every paragraph is this way?

On Fri, Mar 22, 2019 at 17:29 Bryant, Benjamin (OAG) <Benjamin.Bryant@dc.gov> wrote:

 Mr. Claiborne,




                                                                1
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We don’t believe that it conforms to the applicable Rules or the Court’s Minute Order because it contains paragraphs
with multiple allegations of fact and contains extensive argument.




Sincerely,



Benjamin E. Bryant [1047632]

Assistant Attorney General

Civil Litigation Division, Section IV

Office of the Attorney General for the District of Columbia
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202‐724‐6652 (phone)

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benjamin.bryant@dc.gov



From: William Claiborne <claibornelaw@gmail.com>
Sent: Friday, March 22, 2019 5:22 PM
To: Bryant, Benjamin (OAG) <Benjamin.Bryant@dc.gov>
Cc: Addo, Michael (OAG) <michael.addo@dc.gov>; Deberardinis, Robert (OAG) <robert.deberardinis@dc.gov>; Joe
Joseph A. Scrofano, Esq. <jas@scrofanolaw.com>
Subject: Re: LCvR 7(m) Request ‐ JOHNSON v. DISTRICT OF COLUMBIA (1:17‐cv‐00883‐CKK)




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Can you give me some reason why?



On Fri, Mar 22, 2019 at 16:41 Bryant, Benjamin (OAG) <Benjamin.Bryant@dc.gov> wrote:

 Mr. Claiborne,

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     We are going to file a Motion to Strike Plaintiff’s Statement of Undisputed Material Facts (ECF DKT #48‐2).

     Pursuant to LCvR 7(m), do you consent?

     Thank you.

     Sincerely,

     Benjamin E. Bryant [1047632]
     Assistant Attorney General
     Civil Litigation Division, Section IV
     Office of the Attorney General for the District of Columbia
     441 4th Street, NW, Suite 630 South
     Washington, D.C. 20001
     202‐724‐6652 (phone)
     202‐730‐0624 (fax)
     mailto:benjamin.bryant@dc.gov

 ‐‐



 William Claiborne

 Attorney

 ClaiborneLaw

 717 D Street, N.W.

 Suite 300

 Washington, DC 20004-2815

 202-824-0700

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